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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA,


       v.                                         1:15-cr-28-WSD-LTW-2
 PATRICK BERNARD REESE,
                    Defendant.


                             OPINION AND ORDER

      This matter is before the Court on Defendant Patrick Bernard Reese’s

(“Reese”) Renewed Motion to Sever Defendants [207] (“Motion to Sever”).

I.    BACKGROUND

      On January 27, 2015, a grand jury in the Northern District of Georgia

returned a five-count Indictment [1] charging Defendants Jason Philpot (“Philpot”)

and Reese (together, “Defendants”) with aiding and abetting each other in Hobbs

Act Robbery, in violation of 18 U.S.C. §§ 1951 and 2 (Count 1); using, carrying

and discharging a firearm during and in relation to a crime of violence, in violation

of 18 U.S.C. § 924(c) (Counts 2 and 3); and being a felon in possession of a

firearm, in violation of 18 U.S.C. § 922(g)(1) (Counts 4 and 5). The Indictment

alleges that, on September 30, 2014, Defendants robbed a Waffle House restaurant
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in Tucker, Georgia. The firearm charges relate to the use and possession of

firearms by Defendants during and after the robbery.

       In March 2015, Reese moved to sever his trial from the trial of Defendant

Philpot on the charges on which he was indicted. ([28]). On February 8, 2017, the

Court denied Reese’s motion. ([101]). On the morning of July 31, 2017, the first

day of trial, Philpot pleaded guilty to Count 1. ([209]). Later that day, Reese

renewed his motion to sever on the grounds that Philpot “would testify favorably

for [Reese] if their trials were severed.” ([207] at 2). The renewed motion largely

is based on statements made by Philpot during his change of plea hearing.

II.    DISCUSSION

       A.    Legal Standard

       “[T]he general rule is that Defendants indicted together should be tried

together.” United States v. Chavez, 584 F.3d 1354, 1360 (11th Cir. 2009).

Rule 14 of the Federal Rules of Criminal Procedure provides limited circumstances

in which severance is permitted: “If the joinder of offenses or defendants in an

indictment, an information, or a consolidation for trial appears to prejudice a

defendant or the government, the court may order separate trials of counts, sever

the defendants’ trials, or provide any other relief that justice requires.” Fed. R.

Crim. P. 14(a). “The burden is on the defendant to demonstrate that a joint trial

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will result in specific and compelling prejudice to the conduct of his defense.”

United States v. Schlei, 122 F.3d 944, 984 (11th Cir. 1997).

      A defendant arguing for severance to permit a codefendant’s
      exculpatory testimony must demonstrate: (1) a bona fide need for the
      testimony; (2) the substance of the desired testimony; (3) the
      exculpatory nature and effect of the desired testimony; and (4) that the
      co-defendant would indeed have testified at a separate trial. If the
      defendant makes this showing, then, to determine if severance is
      warranted, the district court must: (1) examine the significance of the
      testimony in relation to the defendant’s theory of the case; (2) assess
      the extent of prejudice caused by the absence of the testimony;
      (3) consider judicial administration and economy; and (4) give weight
      to the timeliness of the motion.

United States v. Green, 818 F.3d 1258, 1280 (11th Cir. 2016). “Most motions for

severance on th[e] ground [that defendant wishes to use the testimony of a

codefendant] fail the test.” 1A Charles Alan Wright et al., Fed. Prac. & Proc.

Crim. § 225 (4th ed. Apr. 2017 Update); see United States v. De La Paz-Rentas,

613 F.3d 18, 24 n.1 (1st Cir. 2010) (“Sanjurjo also argued below that joinder

deprived him of the chance to have Molina testify for him, but such arguments are

not usually successful.”).

      B.     Analysis

      Reese moves to sever on the grounds that Philpot’s testimony “would

potentially exonerate him.” He argues that he “will be prejudiced in this trial if he

is forced to be tried jointly with his co-defendant and therefore unable to compel

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[Philpot’s] testimony.” ([207] at 3-4). Citing Philpot’s sworn statements at his

change of plea hearing, Reese claims Philpot would testify that “Mr. Reese did not

participate in the robbery but rather that two other individuals entered inside the

Waffle House with the intent to rob it.” ([207] at 2).

      Severance is not warranted here because Reese cannot meet his burden to

show specific and compelling prejudice warranting severance. Schlei, 122 F.3d at

984. First, the Court finds Reese cannot demonstrate “the exculpatory nature and

effect of the desired testimony.” Green, 818 F.3d at 1280. The testimony on

which Reese relies is inculpatory and would not have the effect Reese claims.

Reese is charged with committing, or aiding and abetting, a Hobbs Act robbery.

Philpot’s admission that he aided and abetted the September 30, 2014, robbery

supports that Reese also is criminally responsible, if not principally responsible, for

the robbery that occurred. Philpot testified, at his change of plea hearing, that he,

Reese, and two other individuals drove to the Waffle House restaurant to commit

the robbery. (Transcript of Jason Philpot’s Change of Plea Hearing (July 31, 2017)

[209] (“Tr.”) at 32-33). Philpot drove the “getaway car” and Reese was inside the

vehicle. (Tr. at 33, 35). Philpot stated that two other individuals, in the car,

entered the Waffle House “with the intent to rob” the restaurant. (Tr. at 32).

Philpot testified that he knew “the Waffle House was going to be robbed,” and that

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“it was going to be robbed with the use of a weapon by [his] co-defendant,

Mr. Reese.” (Tr. at 31-32, 35). Philpot testified further that Reese “participate[d]

in this robbery . . . to the extent that he was with [Philpot] and part of the gang that

was going to rob the Waffle House.” (Tr. at 35). Philpot testified that he knew the

two individuals who entered the Waffle House were armed, that they intended to

use their weapons to “scare people into giving money over,” that they left the

Waffle House with “guns in their hands,” and that Philpot knew “they had used

those weapons to scare people inside.” (Tr. at 36-37).

        Reese seeks to characterize Philpot’s testimony as exculpatory because it

alleges that Reese remained in the car during the course of the robbery. This

allegation is not exculpatory, certainly not significantly so, because (1) Philpot also

testified that the Waffle House “was going to be robbed with the use of a weapon

by [his] co-defendant, Mr. Reese,” (2) Philpot testified that Reese “participate[d] in

this robbery . . . to the extent that he was with [Philpot] and part of the gang that

was going to rob the Waffle House,” and (3) Philpot’s other statements support

that Reese aided and abetted the robbery alleged in Count 1 of the Indictment. See

United States v. Baker, 432 F.3d 1189, 1240 (11th Cir. 2005) (denying severance

because “[e]ven if [the co-defendant’s] proffered testimony were admitted, it is

dubious that it would have been enough to overcome” the evidence supporting

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defendant’s guilt, and thus “the absence of [the co-defendant’s] testimony was

insufficiently prejudicial” to warrant severance). Philpot’s testimony also is “of

dubious credibility” because “it was in no way contrary to [his] own interests.”

United States v. Green, 818 F.3d 1258, 1280-81 (11th Cir. 2016). The other

evidence the Government has represented will be introduced at trial is specifically

adverse to Reese’s claim that he did not commit the crimes charged against him,

making it dubious that Philpot’s testimony would overcome the other evidence of

Reese’s culpability.

      Reese also has not met his burden to show that Philpot “likely” would testify

in support of Reese if Defendants were severed. United States v. Cobb, 185 F.3d

1193, 1199 (11th Cir. 1999). “The court is not required to sever where the

possibility of the co-defendants testifying is merely colorable and there is no

showing that there is anything more than a gleam of possibility in the defendant’s

eye.” United States v. Wilson, 500 F.2d 715, 721 (5th Cir. 1974). Philpot pleaded

guilty to, but has not been sentenced for his conviction on, Count 1. “[A] criminal

defendant absolutely maintains [their] right to assert the privilege against

self-incrimination after entering into a plea agreement but prior to sentencing.”

United States v. Colon, 480 F. App’x 509, 512 (11th Cir. 2012); see

Mitchell v. United States, 526 U.S. 314, 325 (1999) (“reject[ing] the position that

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either petitioner’s guilty plea or her statements at the plea colloquy functioned as a

waiver of her right to remain silent at sentencing”); United States v. Butler,

659 F. App’x 390, 391 (9th Cir. 2016) (“[A] convicted but unsentenced defendant

retains his Fifth Amendment rights.”); United States v. Brooks, 681 F.3d 678, 711

(5th Cir. 2012) (“The Fifth Amendment right against self-incrimination only

extinguishes once the sentence has been fixed and the judgment of conviction has

become final”). If Defendants were severed, Philpot could assert his Fifth

Amendment right against self-incrimination if he were called to testify in Reese’s

case. See United States v. Van Hemelryck, 945 F.2d 1493, 1501 (11th Cir. 1991)

(finding severance was not warranted because, “[s]ince [the co-defendant] had not

yet been tried, it is likely that she would have invoked her Fifth Amendment

privilege if called to testify on behalf of [the defendant]”); United States v. Lyles,

593 F.2d 182, 192 (2d Cir. 1979) (“[I]f a co-defendant will invoke the Fifth

Amendment at either a joint or a separate trial, the defendant seeking severance

will gain nothing and judicial economy will have been sacrificed.”); 1A Charles

Alan Wright et al., Fed. Prac. & Proc. Crim. § 225 (4th ed. Apr. 2017 Update)

(“[C]ourts show a healthy skepticism about . . . whether the codefendant would not

ultimately refuse to testify based on [their] constitutional privilege even in a

separate trial.”).

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      Reese has not submitted any evidence showing that Philpot will not assert

his Fifth Amendment rights or that he likely will testify if severance is ordered.

This is fatal to his request for a severance. See United States v. Duzac, 622 F.2d

911, 912 (5th Cir. 1980) (denying severance motion where evidence was only that

the co-defendant “might have elected to testify”); see also United States v. Pursley,

577 F.3d 1204, 1216 (10th Cir. 2009) (denying severance motions where

co-defendants did not submit affidavits “expressing an intention to invoke their

Fifth Amendment privilege in a joint trial, stating that they would testify in a

severed trial, and identifying the exculpatory content of their testimony”); United

States v. Davis, 397 F.3d 173, 183 (3d Cir. 2005) (“Although defense counsel for

Minnis and Davis did not object to Scott’s [severance] motion, neither one gave

any indication that, if granted a severance, their clients would testify on Scott’s

behalf. . . . Accordingly, there is no evidence that either Minnis or Davis would

have testified on Scott’s behalf if the District Court had granted a severance.”);

United States v. Lopez, 6 F.3d 1281, 1285 (7th Cir. 1993) (“At most, Ramirez

presented only a possibility that Chaidez would testify to exculpate him at a

separate trial. That is not enough to require severance. . . . [T]he lack of any

affidavit from Chaidez stands as a glaring omission in the record.”). Reese has not

satisfied the first part of the test set out in Green. 818 F.3d at 1280.

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        Even if Reese had met the first part of the Green test, the Court finds that

severance is not warranted under the second part of the test. Reese’s theory on

Count 1 is that he was not involved in, and thus was not responsible for, the Waffle

House robbery. Philpot’s testimony implicates, and does not exonerate, Reese

because it alleges that Reese “participate[d] in the robbery.” (Tr. at 35).

Defendants’ theory on the firearm charges is that neither Defendant possessed a

gun. Philpot’s testimony also undercuts this theory because Philpot testified that

Reese was armed and intended to rob the Waffle House. (Tr. at 31-32, 35). Near

the conclusion of the hearing, Philpot testified that Reese “participate[d] in th[e]

robbery . . . to the extent that he was with [Philpot] and part of the gang that was

going to rob the Waffle House.” (Tr. at 35). Philpot’s testimony is not

significantly exculpatory “in relation to [Reese’s] theory of the case,” and its

absence at trial will not materially prejudice Reese’s defense. Green, 818 F.3d at

1280.

        Judicial economy also weighs against severance. See Schlei, 122 F.3d at

984 (“It is the district court’s duty to balance the prejudice that a defendant may

suffer from a joint trial, against the public’s interest in judicial economy and

efficiency.”). The Indictment charges each Defendant with the same offenses, all

of which arise out of a single incident on September 30, 2014, in which Defendants

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allegedly worked together to rob a Waffle House. The witnesses and evidence

generally apply to both Defendants, and a severed trial would result in a

duplicative expenditure of judicial resources. See Baker, 432 F.3d at 1239-40

(denying severance, including because “considerations of judicial economy weigh

against holding a separate trial for [the defendant]”). That Reese’s motion was

filed late in this case, after the trial had begun, further underscores that severance is

not appropriate here. See id. at 1239-40 (denying severance, including because

defendant’s severance motion was filed after trial began, even though defendant

“did not know [the grounds for the severance motion] in advance” of trial).

Reese’s Motion to Sever is denied.

III.     CONCLUSION

         For the foregoing reasons,

         IT IS HEREBY ORDERED that Defendant Patrick Bernard Reese’s

Renewed Motion to Sever Defendants [207] is DENIED.



         SO ORDERED this 1st day of August, 2017.




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